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                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                                MCALLEN DIVISION


THE UNITED STATES OF AMERICA     §
                                 §
                  Plaintiff      §
                                 §
v.                               §                                      CASE NO. 7-18-CV-303
                                 §
26.000 ACRES OF LAND, MORE OR    §
LESS, SITUATE IN HIDALGO COUNTY, §
STATE OF TEXAS; AND THE PHARR §
ORATORY OF ST. PHILIP NERI OF    §
PONTIFICAL RITE, A TEXAS         §
NON PROFIT CORPORATION,          §
                                 §
                  Defendants     §


DEFENDANT THE PHARR ORATORY OF ST. PHILIP NERI OF PONTIFICAL RITE,
       A TEXAS NON PROFIT CORPORATION’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

              NOW COMES DEFENDANT THE PHARR ORATORY OF ST. PHILIP NERI OF

PONTIFICAL RITE, A TEXAS NON PROFIT CORPORATION (hereinafter at times

referred to as “Defendant”) and files this its original answer under authority of Rule 71.1(e)(2) of

the Federal Rules of Civil Procedure to the UNITED STATES OF AMERICA’s Complaint in

Condemnation, Declaration of Taking and Notice of Condemnation and in support thereof would

respectfully show as follows:

                 RESPONSES TO COMPLAINT IN CONDEMNATION (DOCUMENT 1)

              1.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                            allegations in section 1.



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              2.            Defendant admits the allegations in section 2, subject to its objections and
                            defenses hereinafter.

              3.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                            allegations in section 3.

              4.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                            allegations in section 4.

              5.            Defendant owns the full fee simple absolute title and estate in all of the land
                            involved in this condemnation action, by a deed recorded in the Deed Records of
                            Hidalgo County, Texas, filed for record on January 19, 1978 as document number
                            1978-2056.

              6.            To the extent that number six requires an answer, Defendant objects to the extent
                            that said proposed condemnation does not justly compensate Defendants for all
                            the land being affected by the temporary taking and does not compensate
                            adequately for or clarify clearly for the persons who live on Defendant’s property
                            the uninterrupted right to continue to live there, use its library, use the chapel for
                            mass and other religious worship, and the other facilities there. Among the other
                            facilities is an old house, which contains old records and archives belonging to the
                            Pharr Oratory Fathers, which need to be preserved.

              7.            Defendant asserts that it is the undivided fee simple owner of all the land affected
                            by this condemnation suit.

              8.            To the extent an answer is required, Defendant again claims a full fee simple
                            absolute undivided interest in the property affected.

                   RESPONSES TO THE DECLARATION OF TAKING (DOCUMENT 2)

              1.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                            allegations in section 1.

              2.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                            allegations in section 2.

              3.            Defendant admits the allegations in section 3.

              4.            Defendant admits the allegations in section 4.

              5.            Defendant owns a full absolute undivided fee simple estate in all of the land
                            involved in this condemnation action, by a deed recorded in the Deed Records of


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                            Hidalgo County, Texas filed for record on January 19, 1978 as document number
                            1978-2056.

              6.            Defendant denies that the sum estimated is just compensation for the temporary
                            assignable easement being sought or condemned. Defendant asserts that the just
                            compensation is much greater and that the Plaintiff has not taken into the account
                            the entire effect on the entire tract of 26.000 acres being sought to be temporarily
                            taken. Pursuant to Rule 71.1(h)(1)(B), Federal Rules of Civil Procedure,
                            Defendant requests a trial by jury to establish the just and fair compensation for
                            the land of 26.000 acres being temporarily taken or sought and for damages that
                            may result from the temporary take.

              7.            Defendant asserts that it is absolute undivided fee simple owner of all the land
                            affected by this condemnation suit. To the extent that the Hidalgo County Tax
                            Assessor Collector or other tax bodies should be notified, then same can occur.

              8.            Defendant admits that efforts were made to negotiate the acquisition of the
                            property interest sought. However, because of the activities on the property being
                            used as a residence, a chapel for religious services and other activities Defendant
                            believes all this was not taken into consideration in seeking the temporary
                            easement.

                                       DEFENDANTS’ OBJECTIONS AND DEFENSES

Pursuant to Rules 71.1(e)(2) Defendant sets out all the following as objections and/or defenses to
the complaint in condemnation and declaration for taking of a temporary assignable easement on
the entire 26 acres. Defendant would show the following:

              1.            Plaintiff has failed to clearly identify whether its offer takes into consideration or
                            provides any damages separately to that portion of the property being used by the
                            Plaintiff, for its survey and other activities.

              2.            That the Plaintiff has failed to provide just and adequate compensation for the
                            land of 26.000 acres being temporarily taken.

              3.            That the Plaintiff has failed to adequately consult under the consultation clause of
                            the note to Title 8 USCA, section 1103. Said negotiations should be a condition
                            prior to entry onto the property after the taking has been completed. Defendant
                            acknowledges that the Plaintiff’s representatives consulted with the Defendant
                            and its attorney and in fact visited the site in question. As a result of these
                            discussions there should of have been no request for a temporary taking based on
                            the religious activities that take place on the property, the residence, library and
                            other structures.


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              4.            To that extent that parts of the Uniform Relocation Assistance and Real Property
                            Acquisition Policies Act of 1970, Title 42 USCA, sections 4601, et. seq. may
                            apply that the Plaintiff be required to comply with those provisions, before any
                            temporary possession or taking of a temporary assignable easement is allowed.

              5.            That any order of possession be done in compliance with Title 40 USCA, section
                            3114.

              6.            In the alternative, that the Court fix the time and the exact terms on which the
                            Plaintiff may take possession of the 26.000 acres. In connection with this, four
                            persons live on the property, three Roman Catholic priests and a seminarian.
                            There is a chapel where mass and other catholic religious services are regularly
                            conducted. There is a library that is used by the priests and seminarian that live on
                            the 26 acres and other persons all requiring limitations on the request for
                            temporary possession and the Plaintiff’s activities to take place there. Other
                            activities that take place there are use of the chapel for retreats and other events
                            throughout the entire property. Also, there are different Catholic churches in the
                            area that make use of the chapel and additional masses are conducted there in
                            addition to the masses conducted on Sundays.

              7.            To the extent that the proposed declaration of taking violates the Religious
                            Freedom Restoration Act of 1993 codified at 42 USC section 2,000bb through 42
                            USC section 2,000bb-4 also known as RFRA, the Defendant would object to the
                            taking. In connection with this the Defendant would show that on the 26 acres it
                            has a chapel where mass and other Catholic religious services are conducted by
                            the priests who live on the property. It has a library that is used by the three
                            priests and seminarian who live on the 26 acres. The proposed temporary taking
                            would significantly impact these religious activities. The proposed area to be
                            surveyed is within a few days of the library and chapel noted herein above.

              8.            To the extent that the proposed declaration of taking for survey and temporary
                            possession conflicts with the First Amendment of the United States Constitution
                            and the priests and seminarian who live on the Defendant’s property the
                            uninterrupted right to exercise their Freedom of Religion, Defendant objects to the
                            taking. Even the proposed temporary taking could certainly impede or interrupt
                            the Freedom of Religion for the priests and seminarian living on the property.
                            Defendant would further assert that there can be no waiver of the rights of these
                            individuals to exercise their First Amendment right of freedom of religion.

              9.            To the extent that the National Historic Preservation Act 54USCA section
                            300101, et.seq. requires federal agencies to decide if their projects may adversely
                            impact a historic property and cultural resource, and to the extent that the Act may
                            apply herein, Defendant objects and requests that the Court require the Plaintiff
                            Government to comply with all aspects of this or any other statues concerning any
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                            activities that the Plaintiff may be allowed to perform on the proposed area to be
                            taken for temporary possession.

              10.           Defendant requests a trial by jury as noted hereinabove pursuant to Rule
                            71.1(h)(1)(b) of the Federal Rules of Civil Procedure to determine, just
                            compensation of the 26.000 acres temporarily taken.

              11.           Defendant has not been provided with any documentation as to how the Plaintiff
                            arrived at the value in the offer or deposit made.

              12.           Answering further, Defendant reserves all rights it may have under Title 28
                            USCA, section 2412, the Equal Access to Justice Act to recover attorneys fees for
                            the condemnation. Also see USA vs. 329.73 acres of land, et. al., 704 F 2d
                            800(5th Cir.1983, en banc)

              13.           Defendant also reserves its right to receive additional interest on any final award
                            of compensation as provided for in Title 40 USCA, section 3116.

              14.           Defendant reserves its right to receive all adequate written notices which may be
                            required before any entry on to the 26.000 acres, which are being sought. And in
                            connection with this ask Defendant asks for that to be part of any terms and
                            conditions in any order of possession. This is especially important in light of the
                            property being a residence for several persons and having various activities taking
                            place including a mass on Sunday and other days or special occasions which
                            could have many people present.

              15.           Defendant objects to the extent that the public purpose for which the interest in
                            the property is being taken exceeds the statutory authorization in Title 8 USCA,
                            section 1103(b) and note. Upon information and belief that statute provides for
                            reinforced fencing and also provides for the installation of additional physical
                            barriers, roads, lighting, cameras, and sensors to gain operational control of the
                            southwest border. To the extent that said public purpose noted by Plaintiff
                            exceeds or contradicts the statute and does not define related structures,
                            Defendant objects. Plaintiff has identified public purpose in Section 4 of the
                            Complaint in Condemnation; and Schedule B attached to the complaint and the
                            Declaration of Taking and Notice.

              16.           The amendments of Public Law 110-161, Div E, Title V, § 564, 121 Stat. 2090,
                            (enacted December 26, 2007) require that the construction of fencing by situated
                            “along the border”. Defendant objects to the taking of its land since it is neither
                            situated on or adjacent to the U.S. – Mexico border as defined by Article V of the
                            Treaty of Guadalupe Hidalgo, and recognized by this Court in Amaya v. Stanolind
                            Oil & Gas, 62 F. Supp. 181, 194 (S.D. Tex.1945) and the Supreme Court in U.S.
                            v. Louisiana, 363 U.S. 1, 36, 48; 80 S. Ct. 961; 4 L.Ed. 2d 1025 (1960).
                            Defendant asserts that Plaintiff does not have authority under the enabling statute
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                            to condemn Defendant’s property because it is outside of the scope of the
                            property authorized for condemnation by Congress. Answering further because of
                            the extremely closed proximity to some of the buildings in question to the areas to
                            be surveyed it would almost be impossible to place any “related structures” on the
                            Defendants property. Therefore, Defendant requests that it be clarified what the
                            other “related structures” are.

              17.           Public Law 110-161, Div E, Title V, § 564, 121 Stat. 2090, (enacted December
                            26, 2007), requires Plaintiff to “consult with the Secretary of the Interior, the
                            Secretary of Agriculture, States, local governments, Indian tribes, and property
                            owners in the United States to minimize the impact on the environment, culture,
                            commerce, and quality of life for the communities and residents located near the
                            sites at which such fencing is to be constructed.”(emphasis added) Plaintiff has
                            failed to conduct meaningful consultation with the representatives of Defendant’s
                            community prior to filing this complaint in condemnation. Plaintiff’s failure to
                            conduct meaningful consultation deprives Plaintiff of any authority to engage in
                            temporary possession and condemnation of Defendant’s property at this time.

              18.           To the extent that the condemnation at this time does not conform with the
                            Uniform Appraisal Standards for Federal Land Acquisitions, Defendant objects.

              19.           To the extent that the proposed condemnation had failed to comply with all the
                            guidelines set out of the Department of Homeland Security’s Brochure entitled
                            Acquiring Real Property for Border Security Infrastructure in Support of the
                            Secure Border Initiative, Defendant objects.

              20.           To the extent that the Plaintiff may not have complied with all federal statutes
                            before declaring a public purpose, Defendant objects.

              21.           To the extent that the waiver published in the Federal Register on October 11,
                            2018 submitted by the Department of Homeland Security waiving several federal
                            statutes including various environmental statutes, Defendant objects to the extent
                            that this waiver could be in non compliance with federal law. Further to the extent
                            that any Court was to issue an injunction or restraining order against said waiver
                            and requiring the compliance with the various federal statutes listed in said waiver
                            submitted as document citation 83FR51472 found at pages 51472-51474 of the
                            federal register and reflected as documents number 2018-22063, Defendant would
                            join In any such request for injunction relief.

              22.           Defendant further reserves the right to file additional objections or defenses to the
                            temporary taking by the Plaintiff, United States of America if circumstances
                            change, or any amendments are filed by the Plaintiff.

              WHEREFORE, Defendant The Pharr Oratory requests that:
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              1.            Judgment be rendered denying Plaintiff’s right to condemn of a temporary
                            assignable easement or for any other purpose Defendant’s above-referenced
                            property of 26.000 acres.

              2.            In the alternative, if the property of 26.000 acres is taken under a temporary
                            assignable easement then this Honorable Court consider all the objections and
                            defenses set out hereinabove, before granting possession and place reasonable
                            limitations on said temporary possession.

              3.            Defendant be allowed recovery of its expenses for attorney fees in defending
                            against this condemnation action pursuant to the provisions therefore in the
                            Uniform Relocation Assistance and Real Property Acquisition Policies Act of
                            1970, 42 U.S.C. § 4654(a)(1) if applicable and to the Equal Access to Justice Act,
                            Title 28 USCA, section 2412, if applicable.

              4.            The Court grants Defendant such other and further relief as the Court deems
                            proper.

              5.            Defendant requests a trial by jury, pursuant to Rule 71.1(h) (1) (B) on the issue of
                            just and adequate compensation.

                                                          Respectfully submitted,
                                                          THE PHARR ORATORY OF ST. PHILIP
                                                          NERI OF PONTIFICAL RITE, A TEXAS NON
                                                          PROFIT CORPORATION, Defendant


                                                          By:     /s/ David C. Garza
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                                       CERTIFICATE OF SERVICE

              I hereby certify that on October 22, 2018, I electronically filed the foregoing original
answer by Defendant with the Clerk of the Court using the CM/ECF system which will send
notification to all counsel of record and that I emailed a copy to the following:

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                                                          ______/s/ David C. Garza_________
                                                                David C. Garza




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